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   United States of America
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:16-CR-92-JAM
12                                 Plaintiff,             STIPULATION AND ORDER TO CONTINUE
                                                          TRIAL AND TRIAL CONFIRMATION HEARING
13                          v.
                                                          DATE: September 18, 2018
14   WAYNE ARTHUR YORK II,                                TIME: 9:15 a.m.
     JUAN CARLOS MONTALBO                                 COURT: Hon. John A. Mendez
15
                                  Defendants.
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17
                                                STIPULATION
18
             1.     By previous order, this matter was set for Trial Confirmation on September 18, 2018.
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     Trial is scheduled to commence on October 15, 2018. ECF 122.
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             2.     By this stipulation, the parties move to vacate the trial and trial confirmation dates, to
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     continue the Trial Confirmation Hearing until January 22, 2019, and to set a jury trial for March 18,
22
     2019.
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             3.     The parties agree and stipulate, and request that the Court find the following: As
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     foreshadowed by a prior stipulation (see ECF 127), the government has discovered that a portion of the
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     previously-produced electronic discovery was not converted into PDF discovery. Some emails were not
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     produced in a complete form, due to automated conversation processes that interpreted some of the raw
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     files provided by an email provider as duplicate emails. The electronic conversion process is again in
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     process, and the government has represented to the defendants that it expects to be able to produce any

      STIPULATION TO CONTINUE TCH AND TRIAL               1
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 1 previously truncated emails by early October 2018.

 2          4.      However, counsel for both remaining defendants do not believe that production of those

 3 emails in early October 2018 will give them sufficient time to review and analyze the emails prior to

 4 trial, or to adequately prepare their case taking into account the exercise of due diligence.

 5          5.      The parties all agree that review of these materials is essential to effective and complete

 6 preparation, and that trial must therefore be rescheduled so that they may be reviewed. Both defendants

 7 have expressed to the government strong interest in reviewing the contents of all emails prior to

 8 confirming for trial.

 9          6.      In light of these facts and other trial commitments, the earliest dates that both defense

10 counsel will be available for a TCH and trial are January 22, 2019, and March 18, 2019, respectively.

11          7.      The parties therefore jointly request that the TCH be continued to January 22, 2019, that

12 trial be continued to March 18, 2019, and that time under the Speedy Trial Act be excluded between the

13 date of this order and March 18, 2019, under Local Code T4, 18 U.S.C. § 36161(h)(7)(A) and

14 3161(h)(7)(B)(iv).

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16          IT IS SO STIPULATED.

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18
     Dated: September 13, 2018                                MCGREGOR W. SCOTT
19                                                            United States Attorney
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                                                              /s/ MATTHEW G. MORRIS
21                                                            MATTHEW G. MORRIS
                                                              Assistant United States Attorney
22

23   Dated: September 13, 2018                                /s/ CHRISTOPHER CANNON (auth. by
                                                              email)
24                                                            CHRISTOPHER CANNON
                                                              Counsel for Defendant
25                                                            WAYNE ARTHUR YORK II
26
     Dated: September 13, 2018                                /s/ TIMOTHY ZINDEL (auth. by email)
27                                                            TIMOTHY ZINDEL
                                                              Counsel for Defendant
28                                                            JUAN CARLOS MONTALBO

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 2                                       FINDINGS AND ORDER

 3        IT IS SO FOUND AND ORDERED this 14th day of September, 2018.

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                                                   /s/ John A. Mendez
 5                                              THE HONORABLE JOHN A. MENDEZ
                                                UNITED STATES DISTRICT COURT JUDGE
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     STIPULATION TO CONTINUE TCH AND TRIAL       3
